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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA                            )
                                                     )
                    v.                               )
                                                     )
 DUSTIN BOONE,                                       ) No: 4:18-CR-00975 CDP (JMB)
 RANDY HAYS,                                         )
 CHRISTOPHER MYERS, and                              )
 BAILEY COLLETTA,                                    )
                                                     )
                  Defendants.                        )

    GOVERNMENT'S DISCLOSURE OF ARGUABLY SUPPRESSIBLE EVIDENCE
      PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 12(b)(4)

       COMES NOW the United States of America by and through its attorneys, Jeffrey B.

Jensen, United States Attorney for the Eastern District of Missouri, and Jennifer A. Winfield,

Assistant United States Attorney for said District, and makes the following disclosure pursuant to

Federal Rule of Criminal Procedure 12(b)(4).

       At trial, the Government intends to use the evidence seized and statements made by the

defendants and other witnesses during the events described below, and as described in the

discovery letter and its attachments provided to defense counsel on January 18, 2019. This

evidence and these statements are more fully set forth in the investigative reports and search

warrant returns, which have been made available to defendants. The Government has listed the

evidence below that it believes a defendant could possibly argue standing to contest, although the

Government is in no way conceding that any defendant, in fact, has standing on these events.

       Also, as additional evidence is found, and as supplemental information comes to the

Government's attention, the Government may choose to use evidence in addition to that listed

below. Therefore, a supplemental Rule 12(b)(4) notice may be filed at a later date.



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                      EVENT/ITEM                              DEFENDANT(S)
              Bailey Colletta Statement-FBI 302                Bailey Colletta


              Search Warrant for AT&T account                      Randy Hays
                       (***) ***-2735
                    (4:18-MJ-0008 DDN)

            Search Warrant for Apple, Inc. account                 Dustin Boone
                       (***) ***-8002
          (4:18-MJ-6003 PLC) (4:18-MJ-1197 JMB)
                    (4:18-MJ-3327 NCC)

         Search Warrant for Apple-brand cellular phone             Dustin Boone
                    seized from D. Boone
          (4:18-MJ-1147 JMB) (4:18-MJ-1149 JMB)

         Search Warrant for HTC-brand cellular phone               Randy Hays
                    seized from R. Hays
          (4:18-MJ-1165 JMB)(4:18-MJ-3184 NCC)

       Search Warrant for Samsung-brand cellular phone        Christopher Myers
                    seized from C. Myers
          (4:18-MJ-1166 JMB) (4:18-MJ-3355 NCC)

           Search Warrant for Verizon, Inc. account                Dustin Boone
                      (***) ***-8002
                   (4:18-MJ-6004 PLC)

               Dustin Boone Statement-FBI 302                      Dustin Boone




                                          JEFFREY B. JENSEN
                                          United States Attorney

                                             /s/ Jennifer A. Winfield
                                          JENNIFER A. WINFIELD, #53350MO
                                          Assistant United States Attorney
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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 23, 2019, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon counsel
of record.


                                                /s/ Jennifer A. Winfield
                                             JENNIFER A. WINFIELD, #53350MO
                                             Assistant United States Attorney




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